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U.S. Department of Justice

  

United States Attorney
District of New Jersey

Attorney for the United States Newark, New Jersey 07102
Acting Under Authority of 28 U.S.C. & 515

December 30, 2022

Antonio Toto, Esq.

106 Main Street

South River, NU 08882
ajtotoeb@comcast.net

Re: Plea Agreement with Brian Adjavon

Dear Mr. Toto:

This letter sets forth the plea agreement between your client, Brian
Adjavon (“Adjavon” or “Defendant”), and the United States Attorney for the
District of New Jersey (“this Office”). This offer will expire if not signed and
returned to this Office by January 12, 2023.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from Adjavon to Count Two of the Indictment in 22-CR-
922-KM, which charges Adjavon with bank fraud conspiracy, in violation of 18
U.S.C. § 1349. If Adjavon enters a guilty plea and is sentenced on this charge,
and otherwise fully complies with all of the terms of this agreement, this Office
will not initiate any further criminal charges against Adjavon for the conduct
described in the Complaint against Adjavon, Mag. No. 20-12414, and will
dismiss Counts One, Three, Four, Five, and Six of the Indictment against him
at his sentencing. However, in the event that a guilty plea in this matter is not
entered for any reason or the judgment of conviction entered as a result of this
guilty plea does not remain in full force and effect, Adjavon agrees that any
dismissed charges and any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is signed by
Adjavon may be commenced against him notwithstanding the expiration of the
limitations period after Adjavon signs the agreement.

Sentencing

The violation of 18 U.S.C. § 1349 charged in Count Two of the
Indictment to which Adjavon agrees to plead guilty carries a statutory
maximum prison sentence of thirty years and a statutory maximum fine of

Vikas Khanna . 970 Broad Street, Suite 700 (973) 645-2700
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$1,000,000. Fines imposed by the sentencing judge may be subject to the
payment of interest.

The sentence to be imposed upon Adjavon is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence Adjavon ultimately will

receive.

Further, in addition to imposing any other penalty on Adjavon, the
sentencing judge: (1) will order Adjavon to pay an assessment of $100
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) must order Adjavon to pay restitution pursuant to 18 U.S.C.

§ 3663A et seq.; (3) may order Adjavon, pursuant to 18 U.S.C. § 3555, to give
notice to any victims of his offense; (4) must order forfeiture pursuant to 18
U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461; and (5) pursuant to 18 U.S.C.

§ 3583 may require Adjavon to serve a term of supervised release of not more
than five years, which term will begin at the expiration of any term of
imprisonment imposed. Should Adjavon be placed on a term of supervised
release and subsequently violate any of the conditions of supervised release
before the expiration of its term, Adjavon may be sentenced to not more than
three years’ imprisonment, which term is in addition to any prison term
previously imposed regardless of the statutory maximum term of imprisonment
set forth above and without credit for time previously served on post-release
supervision, and may be sentenced to an additional term of supervised release.

In addition, Adjavon agrees to make full restitution for all losses
resulting from the offense of conviction or from the scheme, conspiracy, or
pattern of criminal activity underlying such offense, as determined by the

Court.
Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Adjavon by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this

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Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the full nature and extent of Adjavon’s activities

and relevant conduct with respect to this case.

Stipulations

This Office and Adjavon agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the Stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Adjavon from any other portion of this agreement,
including any other stipulation. If the sentencing court rejects a stipulation,
both parties reserve the right to argue on appeal or at post-sentencing
proceedings that the sentencing court was within its discretion and authority
todo so. These stipulations do not restrict this Office’s right to respond to
questions from the Court and to correct misinformation that has been provided

to the Court.
Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Adjavon waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 ora motion
under 28 U.S.C. § 2255.

Forfeiture

Adjavon agrees that as part of his acceptance of responsibility and
pursuant to pursuant to 18 U.S.C. §§ 982(a)(2), 981(a)(1)(C), and 28 U.S.C. §
2461(c), he will consent to the entry of a forfeiture money judgment as
described below. All payments will be made by certified or bank check made
payable to the United States Marshals Service with the criminal docket number
noted on the face of the check. Adjavon will cause that check to be hand-
delivered to the Asset Forfeiture and Money Laundering Unit, United States

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Attorney’s Office, District of New Jersey, 970 Broad Street, Newark, New Jersey
07102.

Adjavon will consent to the entry of a forfeiture money judgment in
an amount to be determined by the Court (the “Forfeiture Money Judgment”).
If the Forfeiture Money Judgment is not paid on or before the date Adjavon
enters his plea of guilty pursuant to this agreement, interest shall accrue from
that date on any unpaid portion thereof at the rate and in accordance with the
procedures set forth in 28 U.S.C. § 1961(a) and (b). Furthermore, if Adjavon
fails to pay any portion of the Forfeiture Money Judgment on or before the date
of Adjavon’s guilty plea, Adjavon consents to the forfeiture of any other
property alleged to be subject to forfeiture in the Information, including
substitute assets, in full or partial satisfaction of the money judgment, and
remains responsible for the payment of any deficiency until the Forfeiture
Money Judgment is paid in full.

Adjavon agrees to consent to the entry of orders of forfeiture and
Forfeiture Money Judgment and waives the requirements of Rules 32.2 and
43(a) of the Federal Rules of Criminal Procedure regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. Adjavon
understands that the forfeiture and the Forfeiture Money are part of the
sentence that may be imposed in this case and waives any failure by the court
to advise his of this pursuant to Rule 11(b)(1)(J) of the Federal Rules of
Criminal Procedure at the guilty plea proceeding. Furthermore, Adjavon waives
any and all claims that this forfeiture constitutes an excessive fine and agrees
that this forfeiture does not violate the Eighth Amendment.

Immigration Consequences

Adjavon understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses will likely result in him being
subject to immigration proceedings and removed from the United States by
making him deportable, excludable, or inadmissible, or ending his
naturalization. Adjavon understands that the immigration consequences of
this plea will be imposed in a separate proceeding before the immigration
authorities. Adjavon wants and agrees to plead guilty to the charged offenses,
knowing that this plea will result in his removal from the United States.
Adjavon wants and agrees to plead guilty to the charged offenses regardless of
any immigration consequences of this plea, even if this plea will cause his
removal from the United States. Adjavon understands that he is bound by his
guilty plea regardless of any immigration consequences of the plea.
Accordingly, Adjavon waives any and all challenges to his guilty plea and to his
sentence based on any immigration consequences, and agrees not to seek to

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withdraw his guilty plea, or to file a direct appeal or any kind of collateral
attack challenging his guilty plea, conviction, or sentence, based on any
immigration consequences of his guilty plea.

Other Provisions

This agreement is limited to the United States Attorney’s Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office may bring this agreement to the attention of
other prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against Adjavon. This agreement does not prohibit the United States, any
agency thereof (including the Internal Revenue Service and Immigration and
Customs Enforcement) or any third party from initiating or prosecuting any
civil or administrative proceeding against Adjavon.

No provision of this agreement shall preclude Adjavon from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Adjavon received constitutionally
ineffective assistance of counsel.
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No Other Promises

This agreement constitutes the plea agreement between Adjavon
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

Very truly yours,

VIKAS KHANNA

Attorney for the United States
Acting Under Authority of

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s/ Jamie Hoxie Solano

By: Jamie H. Solano

Assistant U.S. Attorney
APPROVED:

/s/ Sean Farrell

 

Sean Farrell
Chief, Cybercrime Unit
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' [have received this letter from my attorney, Antonio Toto,
Esq., and I have read it. My attorney and I have discussed it and all of
its provisions, including those addressing the charges, sentencing,
stipulations, waiver, forfeiture, and immigration consequences. |
understand this letter fully. I hereby accept its terms and conditions and
acknowledge that it constitutes the plea agreement between the parties.
I understand that no additional promises, agreements, or conditions
have been made or will be made unless set forth in writing and signed by
the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:

4 Date: 5/2 XS

Brian Adjavon

I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.

y) Date: 3 bb

Antorigfoto, Esq.
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facts:

Schedule A to Plea Agreement with Brian Adjavon

This Office and Brian Adjavon agree to stipulate to the following

. From January 2018 through December 2019, Adjavon knowingly

and intentionally agreed with his coconspirators to steal mail from
U.S. Post Office mail collection boxes for the purpose of obtaining
checks that individuals had placed in the mail.

. One of the ways by which Adjavon and his coconspirators obtained

access to mail collection boxes was by illegally using a stolen arrow
key that unlocked at least one mail collection box in Newark, New

Jersey.

. Adjavon and his coconspirators agreed further that after obtaining

the stolen checks, they would change the amount payable and the
payee reflected on the checks and then would deposit the checks
into bank accounts controlled by coconspirators.

. As a part of the conspiracy, once the banks credited the

coconspirators’ bank accounts for the amount payable reflected on
the stolen, deposited checks, the coconspirators would then
transfer the credited money to other accounts for the benefit of
Adjavon and the coconspirators.

. At the time Adjavon joined the conspiracy, he knew that the

purpose of the conspiracy was to defraud financial institutions for
his own private financial gain.

As a part of the conspiracy, on or about August 8, 2018, and to
further the bank fraud, Adjavon possessed and used another
person’s bank ATM card and personal identification number (“PIN”)
to deposit a stolen, altered check into the other person’s bank

account.

If the sentencing court accepts the factual stipulations set forth

above, both parties waive the right to file an appeal, collateral attack, writ, or
motion claiming that the sentencing court erred in doing so. Otherwise, both
parties reserve the right to file, oppose, or take any position in any appeal,
collateral attack, or proceeding involving post-sentencing motions or writs.
